    Case: 1:21-cv-01916 Document #: 22 Filed: 05/01/21 Page 1 of 3 PageID #:2025




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 SHENZHEN ZHEN PIN ZHENG
 DIGITAL ELECTRONIC
 TECHNOLOGY CO., LTD

                        Plaintiff,                        Civil Action No. 1:21-cv-01916

                v.                                         JURY TRIAL DEMANDED

 THE PARTNERSHIPS AND                                        Judge: John J. Tharp, Jr.
 UNINCORPORATED ASSOCIATIONS
 IDENTIFIED ON SCHEDULE “A”,


                        Defendants.


 MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF’S EX PARTE MOTION TO
          EXTEND THE TEMPORARY RESTRAINING ORDER

       Plaintiff Shenzhen Zhen Pin Zheng Digital Electronic Technology Co., Ltd. (“Plaintiff”)

respectfully requests that this Court enter an order extending the Temporary Restraining Order

(“TRO”) (Dkt. No. 20) entered in this matter for a period of fourteen (14) days, through and

including May 19, 2021. This is Plaintiff’s first request for an extension of the TRO. In support,

Plaintiff would show as follows:

       Federal Rule of Civil Procedure 65(b)(2) states that an ex parte temporary restraining order

“expires at the time after entry—not to exceed 14 days—that the court sets, unless before that time

the court, for good cause, extends it for a like period” and that the “reasons for an extension must

be entered into the record.” FED. R. CIV. P. 65(b)(3). Plaintiff believes that sufficient good cause

exists to extend the Temporary Restraining Order for an additional fourteen (14) days. As is shown

in Plaintiff’s Ex Parte Motion for Entry of a Temporary Restraining Order and Memorandum of

Law in Support (Dkt. Nos. 12 and 13), in the absence of a restraining order, and more specifically
    Case: 1:21-cv-01916 Document #: 22 Filed: 05/01/21 Page 2 of 3 PageID #:2026




the asset freeze, it is highly likely that Defendants will simply move their ill-gotten funds to

accounts and locations outside the reach of the powers of this Court and will continue to unlawfully

offer counterfeit versions of Plaintiff’s goods. Since the entry of the Temporary Restraining Order,

Plaintiff and Plaintiff’s counsel have worked diligently to comply with the terms of the order.

Decl. of Stevenson Moore, ¶¶ 3-4, attached hereto as Exhibit A. Plaintiff has been in contact with

the third parties who have provided the means by which Defendants accomplish their unlawful

activities, including Amazon.com, Aliexpress.com, Wish.com, Alibaba.com, and eBay.com, and

Paypal, Inc. Id. at ¶ 4. However, Plaintiff has yet to receive a response from all of the third parties

regarding the requested discovery related to Defendants, including identifying the individuals

behind the accounts named in Schedule A of Plaintiff’s Complaint (Dkt. No. 4), as well as their

associated account information. Id. at ¶ 5. Accordingly, once Plaintiff receives the required

information from the third parties, Plaintiff can begin the process of identifying and freezing those

accounts within the control of third-party payment processors, including providing the Defendants’

identifying information. Id. at ¶ 6. As such, Plaintiff and the third parties require more time to

ensure compliance with this Court’s Temporary Restraining Order. Id. In light of this, Plaintiff

respectfully requests that this Court extend the Temporary Restraining Order for an additional

fourteen (14) days, through and including May 19, 2021.
   Case: 1:21-cv-01916 Document #: 22 Filed: 05/01/21 Page 3 of 3 PageID #:2027




Dated this 1st day of May, 2021.                    Respectfully submitted,

                                                     /s/ Hao Ni
                                                     Hao Ni
                                                     Texas Bar No.: 24047205
                                                     Ni, Wang & Massand, PLLC
                                                     8140 Walnut Hill Lane, Suite 500
                                                     Dallas, TX 75231
                                                     972.331.4600
                                                     97.314.0900 (facsimile)
                                                     hni@nilawfirm.com

                                                     David Randolph Bennett
                                                     Direction IP Law
                                                     P.O. Box 14184
                                                     2620 N. Burling St.,
                                                     Chicago, IL 60614
                                                     (312)291-1667
                                                     Email: dbennett@directionip.com
                                                    Counsel for Plaintiff Shenzhen Zhen Pin
                                                    Zheng Digital Electronic Technology Co.,
                                                    Ltd


                                CERTIFICATE OF SERVICE
       I hereby certify that on the 1st day of May, 2021, I electronically filed the foregoing
document with the clerk of the court for the U.S. District Court, Northern District of Illinois,
Eastern Division, using the electronic case filing system of the court. The electronic case filing
system sent a “Notice of Electronic Filing” to the attorneys of record who have consented in
writing to accept this Notice as service of this document by electronic means.

                                             /s/ Hao Ni
                                             Hao Ni
